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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON
                                         Portland Division


 JAMES PERUCCA, and JILL PERUCCA,
 Personal Representative for the Estate of Donna Case No. 3:18-cv-01524
 Perucca,
                                                 COMPLAINT
                                Plaintiff,
                                                 JURY DEMAND
          v.

 CSAA INSURANCE EXCHANGE, a
 California for-profit Corporation,

                                   Defendant.


       Plaintiff alleges:
                                  JURISDICTION AND PARTIES
                                                1.
       At all material times, plaintiffs and Donna Perucca, deceased, were Oregon residents.
                                                2.
       At all material times, plaintiff Jill Perucca was and is the duly appointed personal
representative of the estate of Donna Perucca. Statutory beneficiaries, as defined by ORS 30.020,
and persons with a cause of action for wrongful death under California Code of Civil Procedure
§ 377.60 include James Perucca, husband; Jill Perucca, daughter; and Jodie Perucca, daughter.



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                                                 3.
       At all material times, Defendant CSAA Insurance Exchange was a corporation organized
and existing under the laws of the State of California.
                                                 4.
       The amount in controversy in this action exceeds the sum of $75,000, exclusive of
interest and costs.
                                      CLAIM FOR RELIEF
                                    Breach of Insurance Contract
                                                 5.
       On or about August 28th, 2016, plaintiff James Perucca was the operator of a 2008 Honda
Civic traveling eastbound on Camden Avenue at its intersection with Bose Lane in San Jose,
California. Decedent Donna Perucca was a passenger in the vehicle. While plaintiff James
Perucca executed a left turn onto Bose Lane, with the right of way, a speeding 1998 Toyota
Camry driven by a heavily intoxicated person crashed into plaintiffs’ vehicle.
                                                 6.
       CSAA Insurance policy number CAAS100072111, purchased by Marjorie DeVine, was
in force on August 28th, 2016 and provided for underinsured motorist coverage benefits for the
Honda Civic plaintiff James Perucca was driving and in which the deceased was a passenger.
                                                 7.
       The at-fault driver of the Toyota Camry had insurance coverage limits less than the
underinsured motorist coverage provided by the above-mentioned CSAA insurance policy.
                                                 8.
       Under the terms of the policy and Oregon and California law, plaintiff James Perucca and
the deceased are both insureds and entitled to receive underinsured motorist benefits arising out
of the above-mentioned collision.
                                                 9.
       Plaintiffs have performed all obligations required under the defendant’s contract of
insurance.




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                                                  10.
        Defendant has breached its obligations under its policy by failing to pay plaintiffs
underinsured motorist coverage benefits.


                                             DAMAGES
                                       Plaintiff James Perucca
                                                  11.
        As a result of this collision, plaintiff James Perucca suffered serious and permanent
injuries including multiple broken ribs, pneumothorax, hematomas, organ failure, acute kidney
failure, and cardiac arrythmia.
                                                  12.
        As further result of the collision, plaintiff has incurred wage loss, medical expenses and
will incur future medical expenses, in the amount of $350,000, said sum to be amended at the
time of trial.
                                                  13.
        As a further result of the collision, plaintiff has suffered serious injuries resulting in pain,
embarrassment, emotional distress, loss of enjoyment of normal activities and recreation, and
loss of consortium, all to his noneconomic damages in the amount of $1,000,000.


                                             DAMAGES
                                      Decedent Donna Perucca
                                                  14.
        As a result of this collision, Donna Perucca died.
                                                  15.
        As a result of the death, the beneficiaries and heirs have suffered pecuniary loss, loss to
the estate, and loss of society, companionship, and services, and beneficiary James Perucca has
suffered loss of consortium, all in the amount of $1,750,000.
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                                                 16.
       As a further result of the death, decedent’s estate has incurred emergency medical and
burial services in an amount to be proven at trial.
                                                 17.
       JURY DEMAND. Pursuant to Fed. R. Civ. P. 38(c), plaintiffs demand a trial by jury.


       WHEREFORE, plaintiffs pray for judgment against defendant in the amounts alleged
above and for their costs and disbursements incurred herein.


       DATED this 17th day of August, 2018.

                                        PIUCCI LAW




                                        By:   _________________________________
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